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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:17−cr−00755
                                                        Honorable John Robert Blakey
James Keegan
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 24, 2019:


        MINUTE entry before the Honorable John Robert Blakey: Sentencing hearing
held on 7/24/2019. Defendant, James Keegan (1) present in court in custody with the
assistance of defense counsel. Enter Judgment and Commitment Order. Mailed notice. (cc,
)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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